         Case 19-31918-RG                    Doc 54          Filed 11/14/24 Entered 11/14/24 13:12:30                     Desc Main
Debtor 1               JOSEPH C CANNIZZARO
                                                             Document Page 1 ofCase
                                                                                  3 number (if known) 19-31918
                       Name



     Fill in this information to identify the case:


     Debtor 1              JOSEPH C CANNIZZARO


     Debtor 2
     (Spouse, if filing)

     Unites States Bankruptcy Court for      District of New Jersey
     the:                                                                         (State)
     Case Number:     19-31918



Form 4100N
Notice of Final Cure Payment                                                                                                        10/15

File a separate notice for each creditor.

According to Bankruptcy Rule 3002.1(f), the trustee gives notice that the amount required to cure the prepetition default in
the claim below has been paid in full and the debtor(s) have completed all payments under the plan.


 Part 1:             Mortgage Information

                                                                                                            Court claim no. (if known):
 Name of creditor:                 PNC BANK NATIONAL ASSOCIATION                                            5

 Last 4 digits of any number you use to identify the debtor's account                       0   1   3   2

 Property Address:                            12 WILLIAM STREET
                                              LINCOLN PARK, NJ 07035
 Part 2:             Cure Amount


 Total cure disbursments made by the trustee:                                                                             Amount
 .




 a. Allowed prepetition arrearage (or total allowed amount for a mortgage paid in full through the plan):          (a) $51,488.76

     b. Prepetition arrearage paid by the trustee :                                                                (b) $51,488.76
                                                                                                                         SEE REGISTRY IF
     c. Amount of postpetition fees, expenses, and charges recoverable under Bankruptcy Rule 3002.1(c):            (c)
                                                                                                                         APPLICABLE

 d. Amount of postpetition fees, expenses, and charges recoverable under Bankruptcy Rule 3002.1(c) and (d) $0.00
    paid by the trustee:
                                                                                                            $11,955.38
 e. Allowed postpetition arrearage:                                                                     (e)
                                                                                                            $11,955.38
 f. Postpetition arrearage paid by the trustee :                                                      + (f)

     g. Total. Add lines b, d, and f.                                                                              (g) $63,444.14


 Part 3:             Postpetition Mortgage Payment

 Check one

          Mortgage is paid through the trustee .


            Mortgage is paid directly by the debtor(s).




Form 4100N                                                      Notice of Final Cure Payment                                         page 1
     Case 19-31918-RG                Doc 54    Filed 11/14/24 Entered 11/14/24 13:12:30                        Desc Main
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 Part 4:     A Response Is Required By Bankruptcy Rule 3002.1(g)


 Under Bankruptcy Rule 3002.1(g), the creditor must file and serve on the debtor(s), their counsel, and the trustee, within
 21 days after service of this notice, a statement indicating whether the creditor agrees that the debtor(s) have paid in full
 the amount required to cure the default and stating whether the debtor(s) have (i) paid all outstanding postpetition fees,
 costs, and escrow amounts due, and (ii) consistent with § 1322(b)(5) of the Bankruptcy Code, are current on all
 postpetition payments as of the date of the response. Failure to file and serve the statement may subject the creditor to
 further action of the court, including possible sanctions.

 To assist in reconciling the claim, a history of payments made by the trustee is attached to copies of this notice sent to the
 debtor(s) and the creditor.

              û                                                                          11/14/2024
                                                                                 Date

                    Signature



 Trustee            Marie-Ann Greenberg

 Address            30 TWO BRIDGES ROAD
                    SUITE 330
                    FAIRFIELD, NJ 07004-1550


 Contact phone      (973) 227-2840




Form 4100N                                        Notice of Final Cure Payment                                              page 2
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Debtor 1     JOSEPH C CANNIZZARO
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             Name


19-31918

                                            CERTIFICATE OF SERVICE

 I did this date serve the attached document(s) on the parties listed below by placing the same in the United
 States mail with proper postage affixed thereto and addressed as follows:

Debtor(s):
JOSEPH C CANNIZZARO
12 WILLIAM STREET
LINCOLN PARK, NJ 07035


Debtor(s) Counsel:
JAMES C. ZIMMERMANN
THE LAW OFFICES OF JAMES C.
ZIMMERMANN
244 ROUTE 94, SUITE ONE
P.O. BOX 472
VERNON, NJ 07462

Creditor:
KML LAW GROUP                                               PNC MORTGAGE
701 MARKET STREET                                           1801 E. 9TH STREET
SUITE 5000                                                  SUITE 200
PHILADELPHIA, PA 19106                                      CLEVELAND, OH 44114


Date:      11/14/2024                                      /s/ CharlesDArrigo

                                                               30 TWO BRIDGES ROAD
                                                               SUITE 330
                                                               FAIRFIELD, NJ 07004-1550




Form 4100N                                    Notice of Final Cure Payment                                      page 3
